                                No. 22-13626

                IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT



                               ANNA LANGE,
                              Plaintiff-Appellee
                                      v.
                  HOUSTON COUNTY, GEORGIA AND
              HOUSTON COUNTY SHERIFF CULLEN TALTON,
                       Defendants-Appellants

              On Appeal from the United States District Court
                   for the Middle District of Georgia
                        No. 5:19-cv-00392-MTT

            EN BANC BRIEF OF PLAINTIFF-APPELLEE
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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rules 26.1 and 28(a)(1) of the Federal Rules of Appellate

Procedure and Eleventh Circuit Rules 26.1-1, 26.1-2, and 26.1-3, the Appellee, Sgt.

Anna Lange submits this list, which includes the district court trial judge, and all

attorneys, persons, associations of persons, firms, or partnerships that have an

interest in the outcome of this review:

      1.     Arkles, Gabriel, Esq., Attorney for Plaintiff-Appellee, Sgt. Anna Lange

      2.     Barton, Kenneth E., Esq., Attorney for Plaintiff-Appellee, Sgt. Anna

             Lange

      3.     Cooper, Barton & Cooper, LLP, Attorneys for Plaintiff-Appellee, Sgt.

             Anna Lange

      4.     Cooper, M. Devlin, Esq., Attorney for Plaintiff-Appellee, Sgt. Anna

             Lange

      5.     Cukor, Ezra U., Esq. Attorney for Plaintiff-Appellee, Sgt. Anna Lange

      6.     Deveney, William D., Esq., Attorney for Defendants-Appellants,

             Houston County, Georgia and Houston County Sheriff, Cullen Talton

      7.     Elarbee, Thompson, Sapp & Wilson, LLP, Attorneys for Defendants-

             Appellants, Houston County, Georgia and Houston County Sheriff,

             Cullen Talton




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         10.   Gignilliat, R. Read, Esq., Attorney for Defendants-Appellants, Houston

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         11.   Grant, Jill K., Esq., Attorney for Plaintiff-Appellee, Sgt. Anna Lange

         12.   Houston County, Georgia, Defendant-Appellant

         13.   Houston    County    Sheriff, Cullen     Talton,   Defendant-Appellant

               (deceased) 1

         14.   Lail, Patrick L., Esq., Attorney for Defendant-Appellants, Houston

               County, Georgia and Houston County Sheriff, Cullen Talton

         15.   Lange, Anna, Plaintiff-Appellee

         16.   Medley, Shayna, Esq. Attorney for Plaintiff-Appellee, Sgt. Anna Lange

         17.   Morgan, Sharon P., Esq., Attorney for Defendants-Appellants, Houston

               County, Georgia and Houston County Sheriff, Cullen Talton

         18.   Payne, Amanda M., Esq., Attorney for Plaintiff-Appellee, Sgt. Anna

               Lange

         19.   Powell, Wesley R., Esq., Attorney for Plaintiff-Appellee, Sgt. Anna

               Lange


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    Sheriff Cullen Talton passed away during the course of these proceedings.

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      20.    Advocates for Trans Equality Education Fund (formerly Transgender

             Legal Defense and Education Fund, Inc.), Attorneys for Plaintiff-

             Appellee, Sgt. Anna Lange

      21.    Treadwell, Hon. Marc T., U.S. District Judge, Middle District of

             Georgia

      22.    Willkie, Farr & Gallagher, LLP, Attorneys for Plaintiff-Appellee, Sgt.

             Anna Lange

      Pursuant to Eleventh Circuit Rule 26.1-3(b), Plaintiff-Appellee, Sgt. Anna

Lange, certifies that no publicly traded company or corporation has an interest in the

outcome of this case or appeal.

                                               /s/ Wesley R. Powell

                                               Counsel for Plaintiff-Appellee




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                     PLAINTIFF-APPELLEE’S
              STATEMENT REGARDING ORAL ARGUMENT

      This Court has ruled that oral argument will be conducted the week of

February 3, 2025, in Atlanta, Georgia.




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                                INTRODUCTION

      This case challenges the exclusion of coverage for transgender healthcare in

the Houston County, Georgia (the “County”) employee health plan (the “Health

Plan”), administered by Anthem Blue Cross Blue Shield (“Anthem”). The Health

Plan contains a sex-based exclusion for “[d]rugs for sex change surgery,” and

“[s]ervices and supplies for a sex change,” that eliminates coverage even when a

provider has determined such care is medically necessary and it is medically

necessary within the meaning of the plan (the “Exclusion”). Thus, through the

Exclusion, Appellants deny coverage of undisputedly medically necessary

healthcare to Health Plan members, such as Sgt. Lange, precisely because they are

transgender—even where the very same medically necessary care is covered under

the Health Plan for members who are not transgender. As a result, Appellants have

discriminated against Sgt. Lange on the basis of sex in violation of Title VII of the

Civil Rights Act of 1964.

                       JURISDICTIONAL STATEMENT

      This is an appeal from a permanent injunction. Doc. 262. This Court has

jurisdiction to review the injunction under 28 U.S.C. § 1292(a)(1). This Court may

consider the underlying grant of summary judgment by the district court to the extent

necessary to review the permanent injunction or as it otherwise deems appropriate.

Fed. R. App. P. 3(c)(4); Showtime/The Movie Channel, Inc. v. Covered Bridge



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Condo. Ass’n, Inc., 881 F.2d 983, 987 (11th Cir. 1989), vacated on other grounds,

895 F.2d 711 (11th Cir. 1990).

                         STATEMENT OF THE ISSUE

      As set forth in the En Banc Briefing Notice (App. Doc. 112), this Court has

asked the parties to address the following issue:

      Whether the employer-provided health insurance policy at issue,

      which covers medically necessary treatments for certain diagnoses but

      bars coverage for those same treatments when sought by Sgt. Lange

      for her medically necessary “sex change” surgery, facially violates

      Title VII of the Civil Rights Act of 1964.

                         STATEMENT OF THE CASE

I.    FACTS.

      A.      The Parties.

      Plaintiff-Appellee Sgt. Lange has been a deputy with the Sheriff’s Office

since 2006.    See Defendants-Appellants’ Response to Plaintiff’s Statement of

Undisputed Material Facts, Doc. 179-3, ¶ 28. She is an exceptional employee who

“has performed her duties as an investigator very well.”        Id..   She is also a

transgender woman, which means that, although she was assigned a male sex at

birth, her internal knowledge of herself has always been that she is female. Id. at ¶

29. In 2017, she was formally diagnosed with gender dysphoria, which is the clinical

name for the distress caused by the incongruence between one’s gender identity and

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sex assigned at birth. District Court Order on Summary Judgment, Doc. 205, p. 2.

As part of her treatment, she now lives fully and openly as a woman and has taken

steps to align her body with her gender identity. Id.; Doc. 179-3, ¶¶ 33–35.

However, the Exclusion prevented her from receiving certain care to treat her gender

dysphoria, including her prescribed vaginoplasty (or “bottom surgery”), rendering

her gender dysphoria only partially treated and leading to significant suffering and

distress. Doc. 205, pp. 2–3.

      For years, Sgt. Lange was barred from obtaining needed surgery because

Appellants have maintained the Exclusion in the Health Plan against Anthem’s

recommendation, even though they admit the care they exclude is medically

necessary and cost was not a factor in their decision. Doc. 179-3, ¶¶ 37–38, 134–

135, 141, 174, 194.

      Defendant-Appellant Houston County is a political subdivision of Georgia

governed by the Houston County Board of Commissioners (the “Commissioners”).

Doc. 179-3, ¶ 43. The Commissioners are responsible for the Health Plan, which is

provided to employees of the County, the Sheriff, and other public agencies. Id. at

¶ 44. At the time of the Complaint, Defendant-Appellant Cullen Talton had been

the Sheriff of Houston County, Georgia since 1973, (together with the County

“Appellants”). Id. at ¶ 39. He chose to have the County provide the Health Plan to

his employees on his behalf. Id. at ¶ 60.



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       B.    Gender Dysphoria.

      Transgender is a term used to describe a person whose gender identity—i.e.,

their internal sense of the sex they know themselves to be—differs from the sex that

they were assigned at birth. Id. at ¶ 1. This dissonance can cause clinically

significant distress or impairment in a person’s life. Doc. 179-3, ¶ 2. The medical

diagnosis for this distress is gender dysphoria, which can cause debilitating anxiety

and depression, self-harm, and suicide if left untreated. Id. at ¶ 3. But it is treatable

via social transition, hormone therapy, and various surgical procedures to align a

person’s sex characteristics with the person’s gender identity. Docs. 179-3, ¶¶ 7,

10–14; 195, ¶¶ 7, 10–14. Today, when used for transgender people, these treatments

tend to be referred to as gender transition, gender-affirming, gender confirmation,

transgender healthcare, or treatment for gender dysphoria; in the past, they were

more often referred to as sex change, sex reassignment, or treatment for

transsexualism. See Expert Report of Dr. Schechter, Doc. 148-2 at 2, n.1; compare

Farmer v. Brennan, 511 U.S. 825, 829 (1994) with Kadel v. Folwell, 100 F.4th 122,

143 (4th Cir. 2024). Gender dysphoria is a condition that, by definition, only

transgender people can have. See Doc. 179-3, ¶¶ 1, 3.

      Since 1979, the World Professional Association for Transgender Health, a

non-profit professional organization devoted to transgender health, has promulgated

Standards of Care (the “SOC”) for the clinical management of gender dysphoria that



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reflect the best available scientific evidence and expert consensus for care, including

gender-confirming surgery. Plaintiff’s Amended Statement of Undisputed Material

Facts, Doc. 195, ¶ 8. Medical consensus is that surgery is medically necessary for

many people with gender dysphoria. Docs. 179-3. ¶ 14; 205, p. 3. Major health

professional associations—including the American Medical Association, the

Endocrine Society, the American Psychiatric Association, the American

Psychological Association, the American College of Physicians, the American

Osteopathic Association, and the American College of Obstetrics and Gynecology—

endorse insurance coverage for this healthcare, in line with the SOC. Doc. 195, ¶ 9.

      Surgical reconstruction of sex characteristics is not unique to transgender

healthcare; rather it treats multiple conditions, including gender dysphoria. Doc.

195, ¶ 17.    For example, surgeons perform vaginoplasties, a form of genital

reconstruction surgery, following oncologic resection, injury, infection, or to address

congenital conditions. Id. In non-transgender individuals, genital reconstruction

may be used to treat conditions such as epispadias (a condition where the urethra is

not properly developed), hypospadias (a condition where the urinary opening is not

in the typical location), illness, traumatic injury, or the congenital absence of a

vagina. Doc. 148-2, ¶¶ 39–40. When used in accordance with the WPATH SOC to

treat gender dysphoria, gender confirming surgeries such as vaginoplasties are safe

and it is undisputed that they are effective. Docs. 179-3 ¶ 10; 148-2 , ¶ 4. The only



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evidence on the subject in the record indicates that surgeons use the same billing

codes for vaginoplasties whether they are for transgender or cisgender people, and

these surgeries are likely to be reimbursed at the same or similar rates. Doc. 148-2,

¶ 4.

       C.    The Health Plan.

       Since at least 1973, the Sheriff and the County have participated in a voluntary

intergovernmental agreement, under which the County provides a range of personnel

services for the Sheriff, including the Health Plan. Doc. 205, p. 3; 179-3, ¶¶ 60–62.

The plan is self-funded, and it is administered by Anthem (commonly referred to as

an “Administrative Services Only” or “ASO” plan). Docs. 205, p. 3; 179-3, ¶ 69.

       The Health Plan covers “medically necessary” services including “office

visits and doctor services,” “prescription drugs,” “diagnostic laboratory” services,

“surgical supplies,” “inpatient hospital care,” and “inpatient professional services,”

including “surgery” and “general anesthesia.” Doc. 179-3, ¶ 72, Doc. 155-1. There

are approximately 1,500 Health Plan members. Id. at ¶ 67; Doc. 205, p. 3. The County

sets benefit terms. Docs. 179-3, ¶ 62; 195, ¶¶ 62, 64.

       D.    The Exclusion.

       The Health Plan has contained the Exclusion since at least 1998. Docs. 205,

p. 3. It excludes coverage for “[d]rugs for sex change surgery,” and “[s]ervices and

supplies for a sex change and/or the reversal of a sex change.” Id. at 3–4; Doc. 179-



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3 ¶¶ 75–76. The Exclusion denies coverage of otherwise covered treatments only

for transgender people who need them to change their sex characteristics. Id. at ¶¶

77–78. According to the County, the Exclusion withdraws coverage for at least

“procedures . . . surgically to . . . help someone transition,” “hormones or therapy or

whatever may be required after the surgery,” and “mental health counseling . . .

specific to transitioning.” Doc. 159, p. 27:5–20. The Health Plan does not otherwise

exclude coverage for medically necessary genital reconstruction surgery. Doc. 155-

1, p. 53.

       In September 2016, Anthem notified the County that “the exclusion for gender

identity disorders and sex change surgery will be removed from [Anthem’s 2017]

plans . . .” (the “Nondiscrimination Mandate”). Docs. 179-3, ¶¶ 81–86; 205, p. 4.

However, Anthem permitted ASO plans to choose to “opt out” of the

Nondiscrimination Mandate. Docs. 205, p. 4; 179-3 ¶¶ 83–85, 91. Although “the

County generally follows the recommendation of its third-party administrator as to

exclusions,” the County chose the opt-out. Doc. 205, p. 4; 179-3, ¶¶ 87–90.

Appellants admit that decision was not based on any consideration of medical or cost

information related to the Exclusion. Docs. 205, p. 6; 179-3, ¶¶ 134–35; 150-15, pp.

100:8–19, 105:12–24, 101:6–21, 115:3–16; 150-6, pp. 75:4–76:14.




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      E.     Sgt. Lange’s Transition and Denial of Coverage.

      On April 18, 2018, Sgt. Lange informed Kenneth Carter, Houston County’s

Director of Personnel, that she is transgender, and they discussed whether the Health

Plan would cover surgery. Docs. 205, p. 5; 179-3, ¶¶ 93–94. Citing the Exclusion,

Mr. Carter explained that it would not. Docs. 205, p. 5; 179-3, ¶ 94. Later that day,

Sgt. Lange met with the Sheriff and Mr. Carter, which is when she told the Sheriff

that she is transgender and planned to transition from male to female. Docs. 205, p.

5; 179-3, ¶¶ 98–99. The Sheriff asked Mr. Carter, “What the hell is he talking

about?” and commented, “I don’t believe in sex changes.” Docs. 205, p. 5; 179-3, ¶

100. That same day, Mr. Carter emailed Donna Clark, the County’s insurance

broker, informing her that they “just had the meeting with the sheriff and it went well.

I am good with nothing being covered and I think he is also . . .” Doc. 179-3, ¶ 110.

      That same month, Sgt. Lange had surgery to feminize her chest, paying cash.

179-3 ¶ 35; 150-18, pp. 154:9–19, 155:1–11. Upon the recommendation of her

healthcare provider, she determined that a vaginoplasty would be the next step in her

treatment. Doc. 205, p. 3; Doc. 179-3, ¶ 37. On September 12, 2018, she contacted

Anthem about coverage. Doc. 179-3, ¶ 114. Anthem informed Sgt. Lange that the

surgery would be covered, provided that it was medically necessary under Anthem’s

clinical guidelines. Id. at ¶ 115; Doc. 205, p. 6. As no surgeon was available locally,

Sgt. Lange found Dr. Rachel Bluebond-Langner, an Anthem in-network provider in



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New York.     Doc. 179-3, ¶ 117.     On November 13, 2018, Sgt. Lange had a

consultation with Dr. Bluebond-Langner and her colleague, Dr. Lee Zhao. Id. at ¶

120. They determined that a vaginoplasty was medically necessary for Sgt. Lange’s

gender dysphoria under WPATH SOC, consistent with Anthem’s clinical guidelines.

Id. at ¶ 121; Doc. 224-3 ¶¶ 27, 31. They scheduled her surgery for January 31, 2019,

and submitted a pre-authorization request to Anthem, following conversations in

which Anthem informed Dr. Bluebond-Langner’s office that the surgery was eligible

for coverage with pre-authorization. Doc. 179-3, ¶¶ 122–24.

      Upon learning of Sgt. Lange’s impending surgery, Mr. Carter and Ms. Clark

confirmed the County’s opt-out with Anthem, thus maintaining the Exclusion in the

Health Plan and frustrating Sgt. Lange’s surgery. 2 Doc. 205, p. 6. On November

30, 2018, Anthem informed Sgt. Lange that, due to the Exclusion, her surgery would

not be covered. Id.; Doc. 179-3, ¶ 129.

      When the County subsequently filled out paperwork confirming its opt-out

from the Nondiscrimination Mandate, Anthem required the County to indemnify it

and to discuss the opt-out with counsel. Docs. 205, p. 6; 195, ¶¶ 130–33; 179-3, ¶¶

151–55.




2
 The County asserts it had rejected the Nondiscrimination Mandate prior to that
date; at minimum, it appears Anthem had no record of that. Doc. 205, p. 6.

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      In addition to the denial of her bottom surgery, Sgt. Lange had other routine

healthcare coverage denied by Anthem pursuant to the Exclusion. Docs. 195, ¶ 263;

140-4 ¶ 36. For example, on June 12, 2019, she was denied coverage for a routine

blood test for monitoring her hormone and medication levels; on October 18, 2021,

she was denied coverage for her annual endocrinologist visit. Doc. 195, ¶¶ 265–

266; 179-3, ¶ 266. Sgt. Lange received coverage for some other healthcare, such as

her hormone prescriptions. Doc. 137-3, pp. 48–50; Doc. 150-18, pp. 120:18–124:17.

The County did not intend for hormones to be covered. 3

      F.    EEOC Proceedings.

      Sgt. Lange made numerous attempts to resolve this matter without litigation,

but the County refused to negotiate. Doc. 179-3, ¶¶ 138–140, 165–173; Doc. 205,

pp. 6–7. As a result, Sgt. Lange filed a charge against the County with the U.S.



3
  Around the time he learned that Sgt. Lange was transgender, the County’s Director
of Personnel Kenneth Clark wrote to the County’s insurance broker saying, “I know
that the insurance does not pay for gender reassignment surgery or any medication
that comes with it,” but inquired about coverage for counseling; the broker
responded that if the “codes were used” counseling would also not be covered
because the “’overall diagnosis’ is not covered.” Doc. 155-6. Mr. Carter responded
he was “good” with nothing being covered to avoid “loopholes.” Doc. 155-7. In his
deposition in 2021, Mr. Carter responded “As I understand it, yes,” to the question:
“[W]ould exclusion 26 prevent hormone replacement therapy if used to treat gender
dysphoria?” Doc. 155, 37:13–16. And in a 30(b)(6) deposition, the County
explained that the Exclusion withdrew coverage for at least “procedures . . .
surgically to . . . help someone transition,” “hormones or therapy or whatever may
be required after the surgery,” and “mental health counseling . . . specific to
transitioning.” Doc. 159, 27:5–20.

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Equal Employment Opportunity Commission (“EEOC”) and was issued a right-to-

sue letter on July 8, 2019. Doc. 205, p. 7. On September 20, 2019, Sgt. Lange’s

counsel made one final request to remove the Exclusion or grant an exception, in

advance of the impending deadline to file suit. Doc. 179-3, ¶¶ 181–82. The County

declined but, for the first time, and only in response to the threat of litigation,

requested information from Anthem about the cost of Sgt. Lange’s surgery. Id. at ¶

188; Doc. 205, p. 7. Anthem provided an estimate of $25,600. Docs. 205, p. 7; 179-

3, ¶¶ 189–194.

      G.     The Lawsuit.

      Sgt. Lange filed suit on October 2, 2019. Doc. 1.

      At a November 19, 2019, meeting, the Commissioners voted to maintain the

provisions of the Health Plan—including the Exclusion—leaving the plan

unchanged for 2020. Docs. 205, p. 7; 179-3, ¶¶ 202–212.

II.   COURSE OF PROCEEDINGS.

      On October 2, 2019, Sgt. Lange filed suit against Houston County, Georgia

and others, seeking relief under Title VII; the Equal Protection Clauses of the United

States and Georgia Constitutions; Section 504 of the Rehabilitation Act; and Titles

I and II of the Americans with Disabilities Act (“ADA”). Docs. 1; 56. On April 10,

2020, Sgt. Lange filed an Amended Complaint adding the Sheriff as a defendant.

Doc. 56. On May 11, 2020, the Appellants filed Motions to Dismiss. Docs. 61; 62.



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On October 30, 2020, the Court denied the dismissal of the Title VII, federal equal

protection, and ADA Title I claims against Houston County, Georgia and the Sheriff

in his official capacity, but dismissed all other claims and defendants. Doc. 89, p.

36. The County then filed a motion for reconsideration, which was denied. Docs.

94; 102.

      The parties cross-moved for summary judgment on all claims on November

3, 2021.    Docs. 136–137; 140.        The district court subsequently requested

supplemental briefing on “[w]hether the exclusion in the employee Health care

benefit plan that excludes necessary coverage because of transgender status

necessarily is a violation of Title VII.” Docs. 196–197; 200.

      On June 2, 2022, the district court held that the Exclusion was facially

discriminatory, in violation of Title VII, and that the County is an “agent” of the

Sheriff for purposes of providing the Health Plan. Doc. 205, pp. 12, 28. The district

court granted summary judgment for Appellants on Sgt. Lange’s remaining ADA

claim and denied both motions for summary judgment as to her equal protection

claim. Doc. 205, pp. 21, 33. The Appellants moved to certify the district court’s

opinion for interlocutory review pursuant to 28 U.S.C. § 1292(b). Doc. 206. That

motion was denied, Doc. 220, and the matter proceeded to a damages trial on Sgt.

Lange’s Title VII claim.




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      On September 27, 2022, after the jury returned a verdict, Sgt. Lange was

awarded compensatory damages under Title VII for her emotional distress caused

by the Appellants’ refusal to cover her vaginoplasty. Doc. 256. The parties then

conferred on the terms of an injunction, which was jointly submitted to the district

court and entered into on October 3, 2022 (the “Injunction”) pursuant to 42 U.S.C.

§ 2000e-5(g). Doc. 258. The Injunction declared that the Exclusion violated Title

VII and “permanently enjoin[ed] [Appellants] from any further enforcement or

application of the Exclusion” requiring that “[w]ithin 14 days of this Order,

[Appellants] shall: Notify [Anthem] . . . of this order and take all necessary steps to

ensure Anthem ceases to enforce or apply the Exclusion” as well as to further “direct

Anthem to process any claim for Sgt. Lange’s vaginoplasty, including all associated

charges for services, supplies, and facilities” for her medically necessary treatment.

Id.

      On October 17, 2022, Appellants moved to stay the Injunction pending appeal

and on October 21, 2022, filed notice of interlocutory appeal on the district court’s

finding that the Exclusion was facially discriminatory under Title VII. Docs. 262;

260-1. The Injunction was temporarily stayed, but following full briefing, on March

1, 2023, the district court denied Appellants’ motion to stay the Injunction pending

appeal. Docs. 265; 289.




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       The parties briefed the appeal and oral argument was ordered for November

14, 2023, before a panel of this Court. App. Doc. 61. Following oral argument, on

May 13, 2024, this Court issued an opinion (“Panel Opinion”) affirming the district

court’s ruling. App. Doc. 79-1. The following day, on May 14, 2024, the issuance

of the mandate was withheld. App. Doc. 82. On June 3, 2024, the Appellants

petitioned for a rehearing en banc, which was granted on August 15, 2024, thereby

vacating the Panel Opinion. App. Docs. 84; 111. On September 30, 2024, the

Appellants filed their en banc brief. App. Doc. 118 (hereinafter, “Brief”).

                             STANDARD OF REVIEW

       An appellate court reviews a district court’s grant of a permanent injunction

for abuse of discretion. See Florida v. HHS, 19 F.4th 1271, 1279 (11th Cir. 2021).

The underlying findings of fact are reviewed for clear error and the conclusions of

law de novo. Id.

       This Court may, in its discretion, consider aspects of the underlying summary

judgment order. See Showtime/The Movie Channel, Inc. v. Covered Bridge Condo.

Ass’n, Inc., 881 F.2d, 983, 987 (11th Cir. 1989) (“Although ‘[a]ppellate review

under § 1292(a)(1) is ordinarily confined to the injunctive aspects of the district

court’s order . . . such confinement is a rule of judicial administration, not of

jurisdiction. An appellate court has power to review the case to the extent it chooses

to exercise it.’”) (citation omitted).



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      Summary judgment is proper when “there is no genuine issue as to any

material fact and [ ] the moving party is entitled to a judgment as a matter of law.”

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The party asserting that a

material issue of fact is genuinely disputed “must support the assertion by [ ] citing

to particular parts of materials in the record.” Fed. R. Civ. P. 56(c)(1)(A). A party

may not “simply rely [ ] on legal conclusions or evidence which would be

inadmissible at trial.    The evidence presented cannot consist of conclusory

allegations or legal conclusions.” Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir.

1991) (citations omitted).

                         SUMMARY OF THE ARGUMENT

      This is a simple sex discrimination case based on Title VII’s simple test. An

employer that withholds an employment benefit based on sex has discriminated

based on sex. That is exactly what Appellants have done by eliminating coverage

for otherwise covered health care if they see it as related to “sex change.”

       It is undisputed that the Health Plan’s Exclusion for “sex change” procedures

is the reason that Appellants denied coverage for Sgt. Lange’s vaginoplasty. It is

also undisputed that the Exclusion applies only to transgender members of the Plan

and applies to Sgt. Lange because she is transgender. But for Sgt. Lange’s assigned

sex and transgender status, the Health Plan would have covered her medically

necessary vaginoplasty. It is settled law that discrimination based on transgender



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status is unlawful sex discrimination. Thus, the district court correctly found that

this Exclusion, in this Health Plan, which applies only to transgender plan members

and withdraws healthcare that would otherwise be covered, is facially discriminatory

in violation of Title VII. 4 No further proof of discriminatory intent is required.

Accordingly, granting Sgt. Lange’s motion for summary judgment was proper, and

the district court soundly exercised its discretion in enjoining the enforcement of the

Exclusion. 5

      Appellants and their amici make several incorrect arguments otherwise. They

contend that Bostock and other Supreme Court precedent should not apply to

healthcare benefits. But the fact that health coverage is subject to Title VII has been

settled law for at least half a century. Newport News Shipbuilding & Dry Dock Co.

v. E.E.O.C., 462 U.S. 669, 682 (1983). Appellants argue that the Exclusion depends

on diagnosis and procedure. But the Exclusion doesn’t reference any diagnosis or

procedure. Instead, it bars coverage for any procedure when it is classified as a “sex

change,” which Appellants concede only applies to transgender people. And even

if the Exclusion were based on diagnosis, an exclusion based on a diagnosis of




4
  Appellants state that the “issue presented in this en banc proceeding is whether the
health plan—with its coverages and exclusions—is facially discriminatory under
Title VII.” Brief at 40. But the district court holding was limited to the Exclusion.
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  The district court also correctly held that Houston County acted as an agent of the
Sheriff’s Office. This Court has not requested briefing on this issue.

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gender dysphoria is sex based, so sex would still be a but for cause of the denial of

coverage for Sgt. Lange’s surgery.

       Amici also argue that because the Exclusion applies to “sex changes” and to

“reversal,” of a “sex change” it must not discriminate against anyone based on sex.

Not so. The Exclusion’s reach to “reversal” simply means that it penalizes both

those who seek to change their sex characteristics in a way not associated with the

sex they were assigned at birth and those who have done so in the past, which

exacerbates rather than mitigates liability.

      Appellants also attempt to manufacture factual disputes. They claim that there

is a dispute about whether some of Appellee’s healthcare was covered. There is not.

The parties agree that some (though not all) of her care was covered. It is also

immaterial. Every instance of discriminatory treatment is a Title VII violation. They

also point to the existence of other exclusions in the plan, which have no bearing on

this case. Sgt. Lange has never contended that the plan does not contain other

exclusions, nor has she challenged the validity of the plan as a whole. Rather, she

challenges the Exclusion, which was the only issue decided by the district court.

      Sgt. Lange proved through undisputed evidence that, because of the

Exclusion, Appellants have withdrawn coverage for surgery that she needs and that

otherwise would have been covered, because she is transgender. As a result, the

district court enjoined enforcement of the Exclusion. What matters here is what



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Appellants do not dispute: the Exclusion withdraws coverage only for transgender

members and the Exclusion applies to Sgt. Lange because she is transgender.

      In their attempt to create fact disputes, Appellants also introduce issues that

lack any support in the record. For example, they claim that surgeries required by

transgender individuals must employ different techniques than those used for

cisgender people. Even if this claim were true, it is immaterial to the finding of

facial discrimination because it does not change the fact that the Exclusion removes

healthcare coverage from Sgt. Lange based on sex, not surgical technique. And the

differences about which Appellants speculate are, themselves, based on sex.

      Appellants further argue that the district court erred because it applied Title

VII case law to Sgt. Lange’s Title VII claim to discern facial sex discrimination,

instead of imposing inapplicable Equal Protection law. This argument disregards

the differences in these laws as well as controlling Supreme Court precedent.

Appellants claim that Sgt. Lange has not established discriminatory intent, but it is

well-settled that that a facially discriminatory policy—like the one at issue here—

satisfies Title VII’s intent requirement. They further claim that Sgt. Lange seeks to

make transgender people a “most favored nation” when all she has requested is that

the healthcare that she needs (and that would otherwise be covered) not be

withdrawn on account of her sex. Requiring Appellants to do so, and provide Sgt.




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Lange the same coverage on the same terms that they offer her cisgender peers, is

no more than the law requires.

      Because the District Court properly granted summary judgment to Sgt. Lange

on her Title VII claim, the Injunction should be upheld.

                                  ARGUMENT

I.    THE DISTRICT COURT CORRECTLY                         HELD      THAT     THE
      EXCLUSION VIOLATES TITLE VII.

      The district court correctly determined based on the undisputed facts that the

Exclusion facially discriminates based on sex by denying coverage for procedures

that would otherwise be covered because the employee is transgender. As set forth

below, additional reasoning supports the District Court’s conclusion that the

Exclusion facially discriminates based on sex: (1) the Exclusion cannot be applied

without considering the employee’s sex; (2) the Exclusion discriminates on the basis

of stereotypes about people’s physical appearance based on their birth-assigned sex;

and (3) the Exclusion penalizes a person for changing their sex. Appellants’ and

their amici’s arguments otherwise are mistaken. Other district courts uniformly

agree that equivalent health plan exclusions violate federal statutory protections

against sex discrimination.

      A.    The Exclusion Facially Discriminates on the Basis of Sex.

      Title VII makes it unlawful for an employer “to discriminate against any

individual with respect to h[er] compensation, terms, conditions, or privileges of


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employment, because of such individual’s race, color, religion, sex, or national

origin.” 42 U.S.C. § 2000e-2(a)(1). It is well settled that employee benefits

including health insurance constitute “compensation, terms, conditions, or privileges

of employment.” Newport News, 462 U.S. at 682; see also City of Los Angeles,

Dep’t of Water & Power v. Manhart, 435 U.S. 702, 710 (1978) (“[T]here is no reason

to believe that Congress intended a special definition of discrimination in the context

of employee group insurance coverage.”).             It is equally well settled that

discrimination based on sex in violation of Title VII includes discrimination based

on transgender status. 6 See Bostock v. Clayton Cnty., Ga., 590 U.S. 644, 661 (2020);

Glenn v. Brumby, 663 F.3d 1312, 1320–21 (11th Cir. 2011); see also Copeland v.

Georgia Dep’t of Corr., 97 F.4th 766, 775 (11th Cir. 2024) (stating “discrimination

against transgender individuals like [plaintiff] is discrimination ‘because of sex’”

(quoting Bostock, 590 U.S. at 662)).

         Sgt. Lange’s Title VII claim is of disparate treatment, which “occur[s] where

an employer has treated [a] particular person less favorably than others because of a

protected trait.” Ricci v. DeStefano, 557 U.S. 557, 577 (2009) (internal citations and

quotations omitted). One way to show disparate treatment is facial discrimination.

See E.E.O.C. v. Joe’s Stone Crab, Inc., 220 F.3d 1263, 1273 (11th Cir. 2000). Facial

discrimination is when, for example, “an employer adopts a policy that explicitly


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    Indeed, Appellants do not dispute this point. See Brief at 19.

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treats some employees differently from others on the basis of [a protected

characteristic].” Armstrong v. Flowers Hosp., Inc., 33 F.3d 1308, 1313 (11th Cir.

1994); see also Maddox v. Grandview Care Ctr., Inc., 780 F.2d 987, 989, 991 (11th

Cir. 1986) (affirming district court ruling that defendant’s leave of absence policy

was discriminatory on its face and constituted direct evidence of discrimination

violative of Title VII).

      To determine whether an employer facially discriminates because of sex in

violation of Title VII, the Supreme Court has repeatedly held that one need only

apply the “simple test” of “whether the evidence shows treatment of a person in a

manner which but for that person’s sex would be different.” Manhart, 435 U.S. at

711; see Bostock, 590 U.S. at 672-73. 7 “Often, events have multiple but-for causes

. . . a defendant cannot avoid liability just by citing some other factor that contributed

to its challenged employment decision. So long as the plaintiff’s sex was one but-

for cause of that decision, that is enough to trigger the law.” Bostock, 590 U.S. at

656. 8 Bostock applied the simple test from Manhart, a benefits case. Id. at 663-64,

672–73. Bostock clarified that in future cases, inquiry into whether “other policies



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  Title VII may also attach under the even more capacious “motivating factor”
causation standard. Bostock, 590 U.S. at 657.
8
  Appellants imply that Title VII bars sex discrimination only when it is the sole
cause of an adverse action. Brief at 29–30 (citing Bostock). Far from it. Hence,
Bostock clarified that firing women who like the Yankees, but not men who are also
fans of the Yankees, is still sex discrimination.

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and practices” constitute discrimination against transgender people should be

resolved in the same way as in any Title VII case: by determining whether they are

“distinctions or differences in treatment that injure protected individuals.” Id. at 681

(quoting Burlington N. & S.F.R., 548 U.S. 53, 59 (2006)). 9

      Applying the simple test here, as the district court did, leads to an equally

simple and straightforward conclusion: the Exclusion facially discriminates based

on sex by denying coverage for procedures that would otherwise be covered because

of an employee’s transgender status. The terms of the plan dictate that, even when

medically necessary and otherwise within the plan terms, coverage will be withheld

for “[d]rugs for sex change surgery,” and “[s]ervices and supplies for a sex change.

. . .” Doc. 205 at 3–4. It is undisputed that a vaginoplasty was medically necessary

for Sgt. Lange and, but for the Exclusion, it would have been covered under the

Health Plan. Doc. 150-1, p. 14; Doc. 179-3 ¶¶ 37, 38, 77. But for Sgt. Lange’s

assigned sex and transgender status, the plan would have covered her care. Doc.

179-3 ¶ 77.



9
 The only defense to facial sex discrimination is a bona fide occupation qualification
(BFOQ), but that is irrelevant here. See Int’l Union, United Auto. Aerospace &
Agric. Implement Workers of Am. v. Johnson Controls, Inc., 499 U.S. 187, 192
(1991); see also Arizona Governing Comm. for Tax Deferred Annuity & Deferred
Comp. Plans v. Norris, 463 U.S. 1073 at 1084 n.13 (BFOQ defense is inapplicable
in benefits cases, which “have nothing to do with occupational qualifications.”). As
the district court correctly noted, Appellants have never argued that a bona fide
occupational qualification justifies the Exclusion. See Doc. 205 at 22, n.12.

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      The district court correctly determined that the Exclusion discriminates based

on sex. Doc. 205, p. 28. As the district court explained, by its own terms, the

Exclusion plainly “excludes coverage for sex change surgery and drugs related to

sex change surgery.” Id. at 23. Thus, even when a procedure would be covered for

any other medically-necessary reason, Appellants specifically refuse to cover it

when it is needed for a “sex change.” Id. The district court correctly concluded that

“[t]he undisputed, ultimate point is that the Exclusion applies only to transgender

members, and it applies to Lange because she is transgender.” Id. Appellants have

conceded this point. 10 Brief at 9, 19–20; Docs. 179-3, ¶¶ 77–78; 289, p. 9 n.3. The

district court was thus compelled to hold that the Exclusion facially discriminates

based on sex.

      As set forth in more detail below, additional reasoning supports the district

court’s conclusion that the Exclusion facially discriminates based on sex: (1) the

Exclusion cannot be applied without considering the employee’s sex; (2) the

Exclusion discriminates on the basis of stereotypes about people’s physical

appearance based on their birth-assigned sex; and (3) the Exclusion penalizes a

person for changing their sex.



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   Appellants only disputed this point to the extent that Sgt. Lange suggests that all
treatment for gender dysphoria is excluded. But the issue on appeal relates only to
the denial of Sgt. Lange’s vaginoplasty, which was undisputedly denied due to the
Exclusion. Brief at 9.

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             1.     The Exclusion Cannot Be Applied Without Considering the
                    Employee’s Sex.

      The Exclusion facially discriminates based on sex because it cannot be applied

without considering the employee’s sex. A policy that cannot be applied “without

considering sex” is based on sex. Bostock, 590 U.S. at 668; see also Whitaker v.

Kenosha Unified Sch. Dist. No.1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017)

(a “policy [that] cannot be stated without referencing sex” is “inherently based upon

a sex-classification”). In deciding whether to apply the Exclusion and withhold care

that is otherwise covered, Appellants or their agents must know whether Sgt. Lange

was identified as male or female at birth, and therefore, whether the care she needs

counts as a “sex change.” Doc. 179-3, ¶¶ 75–76. If she were identified as female

at birth, a medically necessary vaginoplasty would be covered under the Health Plan;

however, because she was not, it is not. Id. at ¶¶ 37–38, 77; Doc. 155-1, p. 53. Sex

is the but-for cause of the differential treatment. See Bostock, 590 U.S. at 656–60.

             2.     The Exclusion Discriminates on the Basis of Sex Stereotypes.

      The Exclusion also facially discriminates on the basis of sex stereotypes. See

Bostock, 590 U.S. at 660–62. By excluding coverage for care when the reason is

“sex change,” the Exclusion discriminates on the basis of stereotypes about people’s

physical traits based on their assigned sex at birth. Indeed, “[a] person is defined as

transgender precisely because of the perception that his or her behavior transgresses

gender stereotypes,” “which presume that men and women’s appearance and


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behavior will be determined by their [assigned] sex.” Glenn, 663 F.3d at 1316, 1320;

see also Price Waterhouse v. Hopkins, 490 U.S. 228, 251 (1989) (“[W]e are beyond

the day when an employer could evaluate employees by assuming or insisting that

they matched the stereotype associated with their group.”). 11             Because the

Exclusion—on its face—distinguishes between those seeking care that changes a

person’s sex characteristics in a way that does not adhere to stereotypes associated

with their birth-assigned sex and those seeking care to align their sex characteristics

with their birth-assigned sex, it relies on sex stereotypes. See Kadel v. Folwell, 100

F.4th 122, 154 (4th Cir. 2024) (“[A] policy that conditions access to gender-

affirming surgery on whether the surgery will better align the patient’s gender

presentation with their sex assigned at birth is a policy based on gender

stereotypes.”).

             3.     The Exclusion Penalizes a Person for the Sheer Fact of
                    Transitioning.

      The Exclusion discriminates on its face because it penalizes a person “based

on the sheer fact of the[ir] transition.” Glenn, 663 F.3d at 1321; see also Bostock,

590 U.S. at 660 (an employer violates Title VII when it “intentionally penalizes a

person identified as male at birth for traits or actions that it tolerates in an employee



11
  Although decided under the Equal Protection Clause, Glenn relied on Title VII
precedent—most notably, Price Waterhouse—and includes a full Title VII analysis.
See Glenn, 663 F.3d at 1317–18, 1320–21.

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identified as female at birth”); E.E.O.C. v. R.G. &. G.R. Harris Funeral Homes, Inc.,

884 F.3d 560, 574–75 (6th Cir. 2018), aff’d sub nom. Bostock v. Clayton Cnty., Ga.,

590 U.S. 644 (2020) (“[D]iscrimination ‘because of sex’ inherently includes

discrimination against employees because of a change in their sex.”). The Exclusion

therefore impermissibly singles out one of “[t]he very acts that define transgender

people,” Glenn, 663 F.3d at 1316 (citing Ilona M. Turner, Sex Stereotyping Per Se:

Transgender Employees and Title VII, 95 CAL. L. REV. 561, 563 (2007)), and

penalizes them by withholding procedures that would support their transition. One

cannot penalize people for seeking to change or having changed their physical sex

characteristics from typically male to typically female without relying on sex. See

Schroer v. Billington, 577 F. Supp. 2d 293, 306–08 (D.D.C. 2008) (explaining that

just as discrimination against a person for converting to a different religion is

unquestionably “[d]iscrimination ‘because of religion’” under Title VII, so

discrimination against a person who “has changed her sex” is discrimination

“because of sex”).

             4.      Appellants and Their Amici’s Arguments Otherwise Are
                     Mistaken.

                     a.   An Exclusion Based on Gender Dysphoria Would Still Be
                          Based on Sex.

      Amici argue that the Exclusion relies on diagnosis and procedure instead of

sex. Br. of Ala. et al. at 15; see also supra IB3. But the text of the Exclusion does



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not refer to diagnosis or procedure, it refers to sex. Docs. 205, pp. 2–3; 179-3, ¶ 76.

And in practice, the Exclusion functions always to withdraw coverage for

vaginoplasty from transgender women regardless of diagnosis, while it never

withdraws coverage of vaginoplasty for cisgender women regardless of diagnosis.

See Docs. 155-1, p. 115; 179-3 ¶¶ 72–73.

      Appellants and their agents would still rely on sex if they discerned Sgt.

Lange’s sex through her diagnosis, gender dysphoria—a diagnosis that depends on

an incongruence between one’s gender identity and assigned sex at birth. Doc. 179-

3, ¶ 2. There is no way for a provider to diagnose someone with gender dysphoria

or an insurer or employer to make a coverage determination based on gender

dysphoria without relying on sex. See Bostock, 590 U.S. at 668 (even if an employer

only knows that someone is gay or transgender, and not their assigned sex, the

employer that bases an employment decision on that knowledge still relies on sex).

That gender dysphoria also requires clinically significant distress related to that

incongruence makes no difference either. See id. at 656 (“[A] defendant cannot

avoid liability just by citing some other factor that contributed to its challenged

employment decision.”).

                    b.    Title VII Proscribes Discrimination Against Individuals,
                          Not Discrimination at the Group Level.

      Title VII prohibits discrimination against individuals. Appellants’ arguments

that the Exclusion does not discriminate against all—or only—people assigned the


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same sex at birth have been expressly rejected by the Supreme Court. First, the fact

that the Exclusion forbids coverage based on sex for transgender people labeled male

and female at birth does not exculpate Appellants.           Multiple types of sex

discrimination “double[] rather than eliminate Title VII liability.” Bostock, 590 U.S.

at 662–63, 672.

      The Exclusion’s reach to “reversal” of a “sex change” also compounds rather

than cures the facial discrimination. Doc. 179-3, ¶ 76. It penalizes people because

they have already changed or need to change their sex characteristics in a way that

does not match the sex they were assigned at birth. In the same way, an employment

policy that allows leave for religious observance unless the employee converted

religions—whether for the first time or back to their childhood religion after a

previous conversion—is facial discrimination of the basis of religion. Schroer, 577

F. Supp. 2d 293 at 306. It penalizes employees for changes in religion, initial or

subsequent. So too here: the Exclusion penalizes employees classified as changing

sex. The fact that it reaches those changing away from or back to the sex they were

labeled at birth does no more than show the same outcome can be achieved through

the combination of different factors. “In either case, though, sex plays an essential

but-for role.” Bostock, 590 U.S. at 672.

      To the extent Appellants argue that Manhart and Newport News require a

showing that women as a class were treated differently from men as class, they are



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mistaken for the same reason. See Bostock, 590 U.S. at 662–63 (citing Manhart,

435 U.S. at 707, 711). That argument was expressly rejected in Manhart, where the

employer argued that it charged women as a class more to achieve parity at the group

level because otherwise their greater longevity as a class meant they would “be

subsidized, to some extent, by the class of male employees.” 435 U.S. 702, 708–09.

The Supreme Court has made plain “a rule that appears evenhanded at the group

level can prove discriminatory at the level of individuals.” Bostock, 590 U.S. at 663.

Title VII’s “focus on the individual is unambiguous,” and so “an employer violate[s]

Title VII because, when its policy work[s] exactly as planned, it could not ‘pass the

simple test’ asking whether an individual . . . employee would have been treated the

same regardless of her sex.” Id. at 663 at 1743 (citing Manhart, 435 U.S. at 711)

(emphasis added).

      Appellants’ similar argument that, because some transgender people do not

need surgery, the Exclusion is not facially discriminatory suffers the same fatal

flaws. Brief at 44–45 (citing Young v. United Parcel Serv., Inc., 575 U.S. 206, 222

(2015)). Again, under Title VII, it is well settled that a policy need not discriminate

against all members of a particular group to be facially discriminatory. See Phillips

v. Martin Marietta Corp., 400 U.S. 542 (1971) (per curiam). It is thus irrelevant to

a determination of facial discrimination whether every transgender person—or even

most—in Sgt. Lange’s position would seek the care she sought. It is enough that



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Sgt. Lange was prescribed a vaginoplasty as medically necessary to treat her gender

dysphoria and that coverage for that treatment was barred by the Exclusion because

of Sgt. Lange’s sex assigned at birth and transgender status.

             5.    Numerous Courts Agree.

      Finally, if there were any doubt about the correctness of the district court’s

decision, federal courts—with Lange, nine in total—have been unanimous in

striking down equivalent transgender health coverage exclusions in cases reaching

the final merits under Title VII or other federal sex discrimination statutes. Claire

v. Fla. Dep't of Mgmt. Servs., No. 4:20CV20-MW/MAF, 2024 WL 3955566, at *6

(N.D. Fla. Aug. 1, 2024) decision stayed (Dkt. 187); Dekker v. Weida, 679 F. Supp.

3d 1271, 1290 (N.D. Fla. 2023), on appeal Dekker v. Fla. Agency for Health Care

Admin., No. 23-12155 (11th Cir. 2023); C.P. ex rel. Pritchard v. Blue Cross Blue

Shield of Ill., 3:20-cv-06145, 2022 WL 17788148, at *6 (W.D. Wash. Dec. 19,

2022); Fain v. Crouch, 618 F.Supp.3d 313, 326–28 (S.D. W. Va. Aug. 2, 2022),

aff’d Kadel v. Folwell, 100 F.4th 122 (4th Cir. 2024); Kadel v. Folwell, 620 F. Supp.

3d 33 at 386-87 (M.D.N.C. 2022), aff’d Kadel v. Folwell, 100 F.4th 122 (4th Cir.

2024); Fletcher v. Alaska, 443 F. Supp. 3d 1024, 1030 (D. Alaska 2020); Flack v.

Wis. Dep’t of Health Servs., 395 F. Supp. 3d 1001, 1015, 1020–22 (W.D. Wis.

2019); Boyden v. Conlin, 341 F. Supp. 3d 979, 995 (W.D. Wis. 2018).




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       B.      Appellants’ Purported Factual Disputes Are Immaterial to
               Whether The Exclusion Is Facially Discriminatory.

      The District Court correctly found the exclusion to be facially discriminatory.

The facts relevant to its ruling are undisputed and clear:

            • Appellants control the terms of the Health Plan, Docs. 150-2, p. 14;
              179-3, ¶ 62;

            • The Health Plan contains the Exclusion, Docs. 205, pp. 3–4; 179-3, ¶¶
              74–76; 195, ¶¶ 74–76; 155-1, pp. 66, 71.

            • The Exclusion denies coverage for care in connection with a “sex
              change,” Docs. 205, pp. 3–4; 155-1, pp. 66, 71;

            • The only participants impacted by the Exclusion are transgender
              people, Docs. 205, p. 19; 179-3, ¶ 78; and

            • The Exclusion applies to Sgt. Lange because she is transgender.
              Docs. 205, pp. 19, 23; 179-3, ¶¶ 30, 78.

      Appellants’ assertions otherwise cannot change that Sgt. Lange has met her

burden for summary judgment. “[T]he mere existence of some alleged factual

dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment; the requirement is that there be no genuine issue of material

fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (original

emphasis). To assert that there is a genuine dispute of material facts, a party must

support its assertion by “citing to particular parts of materials in the record, including

depositions, documents, electronically stored information, affidavits or declarations,

. . . or other materials. . . .” Fed. R. Civ. P. 56(c)(1)(A). A dispute about material

facts is genuine “if the evidence is such that a reasonable jury could return a verdict


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for the nonmoving party.” Anderson, 106 S. Ct. 2505, 2510 (1986). “[T]he

substantive law will identify which facts are material . . . Factual disputes that are

irrelevant or unnecessary will not be counted.” Id. Here, the purported factual

disputes for the most part do not actually exist and, more importantly, do not matter

to the outcome of the case.

             1.     Whether Some of Sgt. Lange’s Care Was Covered Is Immaterial
                    to the Issue of Whether the Exclusion Discriminates Based on
                    Sex.

      Appellants argue that the Exclusion is not facially discriminatory because it

is not a categorical exclusion of all medically necessary care for a gender transition.

Brief at 54–56. They also argue that, to discriminate, the Health Plan would have to

“deny Lange the right to participate in the Plan due to her transgender status.” Brief

at 35. Both arguments are unavailing. Because the Exclusion barred coverage of

Sgt. Lange’s vaginoplasty, that Appellants sometimes covered her hormones and

allowed her to enroll in the plan is immaterial

      Appellants attempt to manufacture a dispute of facts where there is none.

Specifically, they contend that summary judgment was inappropriate because there

was a factual dispute about whether some non-surgical transition-related care was

covered. Brief at 48–49. No such dispute as to material facts exists; all parties agree

that some (but not all) of Sgt. Lange’s non-surgical care was covered and that surgery

was not. Docs. 179-3, ¶¶ 129, 266; 195, ¶¶ 263, 265–66; 140-4 ¶ 36; 137-3, pp. 48–



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50; 150-18, pp. 120:18–124:17. It is also immaterial. There is, at most, a dispute of

fact regarding whether the Health Plan was intended to cover any transition-related

care. Doc. 197, pp. 56–58. But this fact is also immaterial to the issue of facial

discrimination under Title VII and thus does not foreclose summary judgment for

Sgt. Lange.

      Each instance of discrimination is an “independent violation” of Title VII.

Bostock, 590 U.S. at 662; see also Arizona Governing Comm. for Tax Deferred

Annuity & Deferred Comp. Plans v. Norris, 463 U.S. 1073, 1081 n. 102 (1983)

(finding it was “irrelevant” that the employer offered several benefits options that

did not discriminate based on sex because “[a]n employer that offers one fringe

benefit on a discriminatory basis cannot escape liability because he also offers other

benefits on a nondiscriminatory basis.”); see also Newport News Shipbuilding & Dry

Dock Co. v. E.E.O.C., 462 U.S. 669, 683 (1983) (providing some, but less extensive,

coverage of pregnancy services to spouses of male employees violated Title VII);

Kadel, 100 F.4th at 139, 164 (finding that West Virginia policy precluding Medicaid

coverage for surgery, but not hormones, discriminated against transgender Medicaid

recipients). It is undisputed that Sgt. Lange’s vaginoplasty was denied pursuant to

the Exclusion. Doc. 179-3, ¶ 129. That alone violates Title VII, even if Appellants

did not discriminate against her on some other occasions.




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      As the district court explained, an employer cannot lawfully withhold benefits

because of sex for some procedures even if it covers others. Doc. 205, p. 28. “Title

VII does not exempt ‘partial’ violations.” Id. (citing 42 U.S.C. § 2000e-2(a)(1)); see

also Phillips, 400 U.S. at 543-44 (rejecting that an employer had a defense under

Title VII where on the whole it hired more women than men); Newport News, 462

U.S. at 683 (“[A] plan that provided complete hospitalization coverage for the

spouses of female employees but did not cover spouses of male employees when

they had broken bones would violate Title VII by discriminating against male

employees.”). The panel similarly rejected Appellants’ argument noting that it

“reflects a misunderstanding of existing law and precedent” because “[a]n employer

is not shielded from liability when it engages in discriminatory practices concerning

some treatment and not others.” Panel Opinion at 10–11 (citing Bostock, 590 U.S.

at 662).

      The argument that, to violate Title VII, Appellants would have had to deprive

Sgt. Lange of enrollment in the plan or insurance coverage altogether presents an

even more extreme form of the same flawed argument. It is also directly at odds

with binding Supreme Court precedent. See Newport News, 462 U.S. at 683;

Manhart, 435 U.S. at 711. The conclusion that a policy is facially discriminatory

may “be reached even if the magnitude of the discrimination [is] smaller” than a

blanket denial of benefits. Newport News, 462 U.S. at 683. As the district court



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correctly stated, Appellants’ argument that enrolling participants in the same plan

proves they have not discriminated “lacks any merit.” Doc. 205, p. 26. Such a rule

would allow any discriminatory policy to be written into a coverage plan, as was the

case in Newport News. 462 U.S. at 676.

             2.     The Existence of Other Exclusions Does Not Render the
                    Exclusion Non-Discriminatory.

      Appellants point out that the plan does not cover all medically necessary care

and contains additional exclusions. Brief at 37–40, 52–53. 12 That is true. It does

not create a dispute of material fact. Doc. 179-3, ¶ 74. Appellants concede that the

Exclusion alone prevented coverage for Sgt. Lange’s vaginoplasty. Id. at ¶ 129. The

other exclusions played no role and have no bearing on this case. Id. If the other

plan exclusions do not rely on sex or another protected characteristic, they are not

facially discriminatory under Title VII. If they do, they are also illegal. As discussed

in I.B.1, supra, whether or not a defendant discriminates in some other context is

irrelevant to a Title VII claim. Regardless of the presence or absence of other

exclusions, Sgt. Lange was denied care by this Exclusion because of her sex and



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   To the extent Appellants are arguing, as below, that properly applying Title VII
here to forbid the Exclusion would also compel removal of their other, non-
discriminatory exclusions, that is simply not plausible, and even Appellants’ own
actuarial expert didn’t believe it. Doc. 137-12, p. 95 (“That would sound like a
stretch to me, that they would all be removed.”). But even if it were, that is a policy
argument best directed to Congress, which enacted Title VII without “slippery
slope” defenses.

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transgender status, which is an independent violation of Title VII. See supra Section

I.B.1. 13

             3.     Purported Differences in Surgical Procedures Are Immaterial to
                    the Question of Whether the Exclusion Discriminates Based on
                    Sex and Are Unsupported by the Record.

       Appellants claim that there can be differences in how certain procedures are

performed on transgender and cisgender patients, depending on their respective sex

characteristics. See Brief at 77–78. But Appellants can point to no evidence

whatsoever in support of their point, and whether such differences exist is immaterial

to the question of whether the Exclusion facially discriminates based on sex. This

argument is just another distraction from the actual issue on appeal. It is also,

ultimately, circular.

       Below, Appellants cited an extra-record document to support consideration of

this new issue. Doc. 179 at 18 n.14. Now, Appellants cite the report put forth by

Dr. Loren Schechter, arguing that a vaginoplasty performed on a transgender woman



13
  To the extent Appellants imply equivalent care for cisgender members might not
be covered because of the “sexual dysfunction” exclusion, their argument is devoid
of support. They point to nothing in the record about how the sexual dysfunction
exclusion operates, let alone that it could stop coverage for a vaginoplasty. It is
undisputed that the plan covers reconstructive surgery for illness, injury, and
congenital “abnormalities . . . in order to create a more normal appearance,” which
includes vaginoplasty. Doc. 179-3 ¶72; Doc. 155-1, pp. 52–53. And according to
the uncontradicted evidence in the record, vaginoplasty is not used to treat “sexual
dysfunction” in cisgender women, but to form a vagina that was, for example,
missing at birth or affected by infection or traumatic injury. Doc. 148-2, ¶¶ 39–40.

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must be different than a vaginoplasty performed on a cisgender woman. Brief at 58.

But Dr. Schechter’s statements do not support any such inference.

      In the cited portion of his declaration, Dr. Schechter merely lists several

different possible surgeries that may be necessary for transgender women, one of

which is vaginoplasty. Doc. 148-2, ¶ 25 (naming chest reconstruction surgery,

various genital reconstruction surgeries, and various surgical procedures on other

body sites as non-exhaustive list of “surgical treatment options that are generally

accepted in the medical community and are consistent with the SOC”). He does not

discuss surgical techniques employed for the surgery at issue here or any other

surgery for anyone, transgender or cisgender. Id. He goes on to explain the necessity

of these surgeries for transgender people, the situations in which cisgender people

obtain the same surgeries, the reality that these surgeries “do not become more

expensive simply because they are being performed” on transgender people and “are

likely to be reimbursed at the same or similar rates” using the same Current

Procedural Terminology (“CPT”) codes as used for cisgender people, 14 and the cost


14
  Appellants attempted to “dispute“ the statement concerning CPT codes, stating
that Dr. Schechter, a practicing physician with expertise in genital surgery, was not
an expert on billing practices. However, they did not retain their own expert nor did
they put forth any evidence even suggesting that a vaginoplasty for a cisgender
woman would be coded or billed differently than it would be for a transgender
woman. See Fed. R. Civ. P. 56(c)(1). However, in the absence of specific citations
to controverting facts, a movant’s facts are generally deemed to be admitted for
summary judgment purposes. See Rule 56(e)(2) (“If a party fails to properly support


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efficiency of treating gender dysphoria when considered in light of how much it

reduces negative health outcomes for transgender people, such as depression, suicide

attempts, and infectious disease. Id. at ¶¶ 4, 27–42.

      Dr. Bluebond-Langer’s declaration does not help Appellants either—she

simply describes obtaining informed consent from Sgt. Lange related to the

techniques she planned to use for Sgt. Lange’s surgery. Doc. 144-1, ¶ 25. She

offered no testimony whatsoever about how the surgical techniques she planned to

use for Sgt. Lange might compare to techniques used for others, cisgender or

transgender. Id.

      Despite ample opportunity to do so, Appellants did not adduce any evidence

on this issue. In the absence of evidence, they invite this Court to speculate that


an assertion of fact or fails to properly address another party’s assertion of fact as
required by Rule 56(c), the court may . . . consider the fact undisputed for purposes
of the motion”); M.D. Ga. Loc. R. 56 (“All material facts contained in the movant’s
statement which are not specifically controverted by specific citation to particular
parts of materials in the record shall be deemed to have been admitted, unless
otherwise inappropriate.”); Subotic v. Jabil, Inc., No. 22-13880, 2024 WL 797140,
at *5 (11th Cir. Feb. 27, 2024) (holding that even improperly citing evidence in the
record can result in a party’s failure to meet the requirements of Rule 56(c)(1));
Gordon v. Bibb Cnty. Sch. Dist., No. 22-13286, 2023 WL 8253881, at *2 (11th Cir.
Nov. 29, 2023) (citing Fed. R. Civ. P. 56(e)(2)) (stating that “legal conclusions and
facts not supported by specific citations will not be considered by the court when
deciding a motion for summary judgment” and further explaining that court may
deem a party’s facts as undisputed if a respondent fails to properly address a
movant’s assertion of fact.). But even if this fact were not admitted, the outcome
would remain the same. The Exclusion does not discriminate based on cost or
surgical procedure used—it denies coverage based on sex.


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surgical techniques must differ in a way that matters. 15 But ultimately, purported

differences in surgical techniques are immaterial. The Exclusion differentiates

based on sex, not surgical technique; if a vaginoplasty is for a transgender person, it

will be classified as “sex change” surgery and the Exclusion will withdraw coverage,

no matter what technique is used. If a vaginoplasty is for a cisgender person, it will

not be classified as “sex change” surgery and coverage will not be withdrawn, again,

regardless of technique used or body type of the patient. The Exclusion rests on the

sex of the patient, never the surgical technique.

      Further, the speculation on this point only underlines that the distinction

Appellants seek to draw is based on sex. Ultimately, they ask this Court to say that

those assigned a male sex at birth simply cannot be compared with those assigned a

female sex at birth, because the genitals they were born with vary. By the same

reasoning, an employer could offer a plan that covers surgery to treat all cancer,

including testicular cancer, but explicitly excludes ovarian cancer, because testes

and ovaries are not identical so surgical techniques could vary. These are precisely

the sort of distinctions Title VII prohibits employers from drawing. See Int’l Union,

United Auto. Aerospace & Agric. Implement Workers of Am. v. Johnson Controls,



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  If one chooses to speculate, it seems at least as safe to assume that a vaginoplasty
performed on a cisgender woman who was born without a vagina would likely differ
significantly from a vaginoplasty performed on a cisgender woman who had cancer
or had suffered injury to the vagina.

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Inc., 499 U.S. 187, 204 (1991) (discrimination based on childbearing capacity is sex

discrimination). Thus, to the extent Appellants object to the presence of penile or

scrotal tissue during a vaginoplasty procedure (Brief at 58), that is not a permissible

basis on which to determine whether to offer an employment benefit such as

insurance coverage, because it is based on sex. Bostock, 590 U.S. at 655 (sex, at

minimum, refers to “reproductive biology” or the “biological distinctions between

male and female.”).

      C.     The Outcome of Appellee’s Equal Protection Claim Does Not
             Dictate the Fate of Her Title VII Claim.

      Appellants argue that the district court could not have found that the Exclusion

was facially discriminatory in the context of Title VII without also finding that it

was discriminatory under the Equal Protection Clause. See Brief at 17–19, 59.

While the Equal Protection Clause and Title VII can overlap, they also differ in ways

that may lead to different results—as they did here. Snider v. Jefferson State Cmty.

Coll., 344 F.3d 1325, 1328 (11th Cir. 2003) (explaining that Title VII and the

“Constitution are not always concurrent”).

      While Appellants frame this issue as a factual dispute, in reality they simply

disagree with the district court’s conclusion that the Exclusion constitutes facial

discrimination under Title VII but not the Equal Protection Clause. See Brief at 17–

19, 59. Disagreement about a legal conclusion cannot defeat summary judgment.

See Fontenot v. Upjohn Co., 780 F.2d 1190, 1195 (5th Cir. 1986) (“The party


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opposing a motion supported by affidavits cannot discharge his burden by alleging

legal conclusions.”). Here, the Plan terms are not in dispute, and it is the terms of

the policy that are dispositive. See Johnson Controls, 499 U.S. at 199; Doc. 179-3,

¶¶ 76–77.

      Further conflating Equal Protection and Title VII, amici suggest that Geduldig

v. Aiello, 417 U.S. 484 (1974) can override clear and binding precedent on Title VII.

Br. of Ala. et al. at 27. But whatever the salience of Geduldig in the equal protection

context, it has none in Title VII. Congress clearly abrogated General Elec. Co. v.

Gilbert, 429 U.S. 125 (1976), the Title VII analogue to Geduldig, when it passed the

Pregnancy Discrimination Act, 42 U.S.C. §§ 2000e. See Newport News, 462 U.S.

at 678 (Congress “unambiguously expressed its disapproval of both the holding and

the reasoning of the Court in the Gilbert decision”); see also E.E.O.C. v. Atlanta Gas

Light Co., 751 F.2d 1188, 1190 (11th Cir. 1985) (finding Newport News should have

retroactive effect, because it should have been clear upon passage of the Pregnancy

Nondiscrimination Act that “Congress has unequivocally rejected that reasoning”).

      The Court in Newport News expressly rejected amici’s argument that the

Pregnancy Discrimination Act was limited to addressing the facts of Gilbert. Br. of

Ala. et al. at 26. Newport News, 462 US. at 679–82. The Court pointed to the

legislative history indicating the House and Senate reports agreed with the dissenting

Justices’ interpretation of Title VII and passed the Act with the intention of



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repudiating Gilbert and Geduldig’s reasoning as to all Title VII sex discrimination

claims. Id. The Court unambiguously concluded Congress rejected Gilbert not only

to pregnant employees, but to all “all individuals [subject to] sex discrimination in

employment,” including the male plaintiffs in the case. Id. Bostock makes the

wholesale rejection of Gilbert’s reasoning all the more clear; after all, in Gilbert, the

Court reasoned in part that because not all women were pregnant, discrimination

based on pregnancy could not be based on sex. Gen. Elec. Co. v. Gilbert, 429 U.S.

125, 135 (1976). But in Bostock, the Court emphasized that it did not matter that

discrimination based on transgender status or sexual orientation could affect people

of more than one sex and would not affect everyone with the same sex; it was still a

sex-based rule. Bostock, 590 U.S. at 645–48, 667. 16

II.   BECAUSE THE EXCLUSION IS FACIALLY DISCRIMINATORY,
      THE DISTRICT COURT CORRECTLY HELD THAT NO FURTHER
      PROOF OF INTENTIONAL DISCRIMINATION IS NECESSARY.

      A.     It Does Not Matter If the Motivation for Appellants’ Facial
             Discrimination Was Benevolent, Malicious, or Unknown, Just That
             the Action Was Based on Sex.

      Appellants argue that Sgt. Lange has not put forth adequate evidence of

discriminatory intent. They are incorrect. The Exclusion is a facially discriminatory




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  Amici’s reliance on Eknes-Tucker v. Governor of Alabama, 80 F.4th 1205 (11th
Cir. 2023) is incorrect for the same reason. As amici note, Eknes-Tucker was
predicated on Geduldig, and turned on the appropriate level of scrutiny for anti-trans
discrimination the equal protection context. Br. of Ala. et al. at 27.

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policy that, itself, proves discriminatory intent. Disparate treatment simply requires

intent to act based on a protected characteristic. Ricci, 557 U.S. at 579 (2009)

(“[E]xpress, race-based decision making violates Title VII’s command” regardless

of motivation); Joe’s Stone Crab, Inc., 220 F.3d at 1283 (“[W]e emphasize that a

finding of disparate treatment requires no more than a finding that women were

intentionally treated differently . . . because of or on account of their gender.”).

      Where a facially discriminatory policy is identified, discriminatory intent is

established and no further proof of intent is needed. See Bostock, 590 U.S. at 667

(“[N]othing in Title VII turns on the employer’s labels or any further intentions (or

motivations) for its conduct beyond sex discrimination.”); Johnson Controls, 499

U.S. at 199 (“[T]he absence of a malevolent motive does not convert a facially

discriminatory policy into a neutral policy with a discriminatory effect.”); see also

Joe’s Stone Crab, 220 F.3d at 1283–84 (“[A] plaintiff need not prove that a

defendant harbored some special “animus” or “malice” towards the protected group

to which she belongs.”); Cmty. Servs., Inc. v. Wind Gap Mun. Auth., 421 F.3d 170,

177 (3d Cir. 2005) 17; Larkin v. Michigan Dep't of Social Servs., 89 F.3d 285, 290

(6th Cir. 1996); Jankovitz v. Des Moines Indep. Cmty. Sch. Dist., 421 F.3d 649, 652

(8th Cir. 2005); Frank v. United Airlines, Inc., 216 F.3d 845, 854 (9th Cir. 2000);


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   This case involves violation of Title VIII of the Civil Rights Act, the Fair Housing
Act, which uses “Title VII as a starting point” for analysis. Cmty. Servs., 421 F.3d
at 176 n.5.

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Feemster v. BSA Ltd. P’ship, 548 F.3d 1063, 1070 (D.C. Cir. 2008); Rodriguez v.

Procter & Gamble Co., 465 F. Supp. 3d 1301, 13241 (S.D. Fla. 2020). The “explicit

terms of the discrimination” suffice. Johnson Controls, 499 U.S. at 199.

      Appellants say Johnson Controls is a “poor fit” because they did not keep Sgt.

Lange from a “position of employment.” Brief at 41. Not so. These factual

differences are immaterial. Nothing in Johnson Controls hints limiting at what

constitutes facial discrimination or that it proves discriminatory intent in this way—

nor could it have, given the plain text of the statute. 42 U.S.C. § 2000e-2(a). In

Johnson Controls, “the bias . . . [was] obvious.” 499 U.S. at 197. The challenged

policy explicitly classified employees based on sex, specifically childbearing

capacity, eliminating certain positions for some, but not all, women. Johnson

Controls, 499 U.S. at 192, 197. Here, the discrimination is no less explicit: the

Exclusion classifies employees based on sex, specifically transgender status and the

sex they were labeled at birth, eliminating coverage for vaginoplasties, among other

care, for some but not all women.

      Appellants also contend that the district court’s decision contravenes Young

by ignoring potential additional motivations for the Exclusion. Brief at 49. Their

argument fails. Young is completely inapposite.

      As a threshold matter, Young’s holdings pertain to interpretation of the phrase

“similar in their ability or inability to work” in 42 U.S.C. § 2000e(k), which is



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specific to pregnancy and not at issue here. Young, 575 U.S. at 226–227, 230

(explaining that its holding is “limited to the Pregnancy Discrimination Act

context.”); E.E.O.C. v. Catastrophe Mgmt. Sols., 852 F.3d 1018, 1025 (11th Cir.

2016) (“The rationale and holding in Young are based on, and therefore limited to,

the language in a specific provision of the [pregnancy discrimination act].”); see also

Monroe v. Fla. Dep’t of Corr., 793 F. App’x 924, 928 (11th Cir. 2019).

      Young does not change the standard for facial discrimination. In Young, the

policy at issue required all drivers to lift seventy pounds, with limited exceptions,

such as for those injured on the job. Young 575 U.S. at 211. The Court characterized

this policy not as facial discrimination based on pregnancy but instead as

distinguishing “in light of characteristics unrelated to pregnancy” and, thus, facially

neutral. Young, 575 U.S. at 219–220. The Court observed that the plaintiff had

produced evidence that could permit an inference of intentional discrimination and

held that she could take advantage of the McDonnell-Douglas burden shifting

framework on remand. The Court also reaffirmed that additional evidence of intent

and the burden shifting framework is not needed when a “workplace policy, practice,

or decision relies expressly on a protected characteristic.” Young, 575 U.S. at 212–

213. Unlike in Young, the Exclusion at issue here is facially discriminatory, relying

expressly on sex—it bars coverage for “sex change.” Doc. 179-3, ¶¶ 76–77. The




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McDonnell-Douglas burden shifting framework does not apply and any further proof

of intent is unnecessary.

      The district court was correct—by its “explicit terms,” the Exclusion

discriminates on the basis of sex in violation of Title VII. See Doc. 205, pp. 21–22

(quoting Johnson Controls, 499 U.S. at 199, 206). Because the Exclusion is facially

discriminatory, see I.A, supra, the district court properly held that no further proof

of discriminatory intent is necessary—the policy itself was sufficient to prove a Title

VII violation. Id.

      B.     A Desire to Control Costs Does Not Change that the Exclusion
             Violates Title VII.

      Appellants argument that they don’t discriminate because of sex but instead

limit coverage for expensive non-lifesaving care fails. Brief at 25. Appellants cite

no record support for their argument. The record shows the opposite to be true.

      Rationing coverage in this way is, manifestly, not what this Exclusion does;

the sole criterion for the Exclusion is whether care is for “sex change,” not its cost

or whether denial would result in the plan member’s death. Appellants arguments

otherwise do not change that they facially discriminate based on sex. See, I.A.

      Indeed, Appellants concede that cost was not a factor in their decision to

maintain the exclusion. Doc. 205, p. 6 (“[I]t is undisputed that cost was not a factor

in the County’s decision to opt out of the nondiscrimination mandate,” which would

have required removal of the Exclusion.); Doc. 179-3 ¶¶ 134–135, 174, 228, Doc.


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150-15, p. 105. In any event, the estimated cost of the vaginoplasty Sgt. Lange

sought amounted to approximately one quarter of one percent (0.25%) of the Health

Plan’s approximately $10 million average annual expenditure. Docs. 179-3 ¶¶ 70,

189–92, 224–26; 137-11, p. 62:13–20. Appellants have never disputed that this care

is medically necessary—even, for some, life-saving. Doc. 179-3 ¶¶ 6, 14–16, 37–

38, 121.

      Even if cost did motivate Appellants, a cost defense is unavailable under Title

VII, for the same reasons described in II.A—additional motivations are irrelevant

where discrimination based on a protected characteristic has been established. See

Manhart, 435 U.S. at 717 (“[N]either Congress nor the courts have recognized [a

cost justification] defense under Title VII.”). For good reason: discrimination

through reducing compensation to disfavored employees saves employers money by

definition—allowing such a defense would make the term “compensation” in the

text of Title VII meaningless. 42 U.S.C. 2000e-2(a)(1). Employers have free rein

to save money in myriad ways, many of which the County has employed here and

may continue to employ. Doc. 161, p. 51 (describing various cost control measures).

Title VII simply proscribes doing so through discrimination based on sex, race,

color, religion, or national origin.




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III.   THE DISTRICT COURT’S INJUNCTION PROVIDES FOR SIMPLE
       EQUALITY.

       Appellants contend that the district court’s decision grants Sgt. Lange

preferential treatment. They are incorrect. The district court’s injunction leads not

to favoritism, but to simple equality.

       In support of their point, Appellants cite Young, which has no bearing here.

Supra II.A. Moreover, in Young, the Court expressed concern over a rule that could

require employers to grant all pregnant employees their requested accommodations

if any worker received an accommodation under any circumstance, even if the

criteria for deciding on accommodations were neutral as to pregnancy (such as the

employee’s seniority or the hazardousness of their duties). Young, 575 U.S. at 219.

Sgt. Lange has never advocated for such a rule. Appellants do not dispute that she

meets neutral requirements for coverage, such as the Health Plan’s medical necessity

criteria. See, e.g., Doc. 179-3 ¶¶ 14–16, 115, 121. The injunction merely requires

the Appellants, when neutral criteria are met, to offer the same coverage for the same

medically necessary procedures that would otherwise be covered under the Plan, but

for the Exclusion. This is a right that anyone—cisgender or transgender—may

vindicate under Title VII.     If Appellants’ policy were reversed and permitted

coverage of surgeries like vaginoplasty or mastectomy when medically necessary

for “sex changes,” but not otherwise, then a cisgender employee could bring her own




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claim. The injunction corrects inequality to afford Sgt. Lange the same coverage as

her colleagues.

                                       ***

      The Court in Bostock could not have spoken more clearly on the breadth of

the statute’s “simple and momentous” message: “An individual’s . . . transgender

status is not relevant to employment decisions.” Bostock, 590 U.S. at 660. In

banning coverage for care for “sex change,” Appellants defied that message and

discriminated against Sgt. Lange based on her transgender status.

IV.   CONCLUSION.

      Because the district court properly granted summary judgment to Sgt. Lange

on her Title VII claim and did not abuse its discretion in enjoining enforcement of

the Exclusion, this Court should affirm.




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Respectfully submitted this 30th day of October, 2024.

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                      CERTIFICATE OF COMPLIANCE

      On behalf of Plaintiff-Appellee Sgt. Anna Lange, I hereby certify pursuant to

Federal Rule of Appellate Procedure 32(g)(1) that the Brief of Plaintiff-Appellee is

proportionally spaced, has a typeface of 14 points or more, and contains 12,116

words.

      This 30th day of October, 2024.

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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served the foregoing BRIEF OF

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will automatically send electronic mail notification of such filing to the following

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